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                                   8                                   UNITED STATES DISTRICT COURT

                                   9                                  NORTHERN DISTRICT OF CALIFORNIA

                                  10                                           San Francisco Division

                                  11     BRYON U JACKSON,                                     Case No. 21-cv-08458-LB
                                  12                     Plaintiff,
Northern District of California




                                                                                              ORDER DENYING MOTION FOR
 United States District Court




                                  13              v.                                          APPOINTMENT OF COUNSEL
                                  14     TARGET CORPORATON,                                   Re: ECF No. 52
                                  15                     Defendant.

                                  16

                                  17      The plaintiff has moved for appointment of counsel. The court denies the motion without

                                  18   prejudice to the plaintiff’s renewing the motion after any motion for summary judgment.

                                  19      There is no constitutional right to counsel in a civil case unless an indigent litigant may lose

                                  20   his physical liberty if he loses the litigation. See Lassiter v. Dep't of Soc. Servs., 452 U.S. 18, 25

                                  21   (1981). The court is unable to assess at this time whether circumstances exist that would warrant

                                  22   seeking volunteer counsel to accept a pro bono appointment. The proceedings are at an early

                                  23   stage. Moreover, the plaintiff has been able to articulate his claims adequately pro se in light of the

                                  24   complexity of the issues involved. See Agyeman v. Corr. Corp. of Am., 390 F.3d 1101, 1103 (9th

                                  25   Cir. 2004). Accordingly, the court denies the request for appointment of counsel at this time. The

                                  26   court can consider appointment of counsel at a later juncture in the proceedings after the defendant

                                  27   has filed its dispositive motion and the court has a better understanding of the procedural and

                                  28   substantive matters at issue. The plaintiff may file a renewed motion for the appointment of

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                                           Case 3:21-cv-08458-LB Document 53 Filed 12/10/22 Page 2 of 2




                                   1   counsel after the court has had a hearing on any dispositive motion or, if the defendant does not

                                   2   file a dispositive motion, at the case-management conference that has been set for any hearing on

                                   3   any dispositive motion. If the court decides then that appointment of counsel is warranted, then it

                                   4   will seek volunteer counsel to agree to represent the plaintiff pro bono.

                                   5      This resolves ECF No. 52.

                                   6      IT IS SO ORDERED.

                                   7      Dated: December 10, 2022

                                   8                                                    ______________________________________
                                                                                        LAUREL BEELER
                                   9                                                    United States Magistrate Judge
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Northern District of California
 United States District Court




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